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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 REUBEN MILES CROSBY, et al.,

        Plaintiffs,
                                                                    Case No. 1:18-cv-612
 v.
                                                                    HON. JANET T. NEFF
 STATE OF MICHIGAN, et al.,

       Defendants.
 ____________________________/


                                            ORDER

       This is a civil action. On June 12, 2018, the court issued a deficiency order (ECF No. 5).

The order required Plaintiffs to each submit the $200.00 portion of the civil action filing fee or

apply in the manner required by law to proceed in forma pauperis within twenty-eight days of the

order. More than twenty-eight days have elapsed since the court’s order and Plaintiffs have failed

to cure the deficiency. Plaintiffs have failed to comply with the order. Therefore,

       IT IS HEREBY ORDERED that this action is DISMISSED without prejudice for lack of

prosecution.

       A Judgment will be entered consistent with this Order.



Dated: July 30, 2018                                         /s/ Janet T. Neff
                                                            JANET T. NEFF
                                                            United States District Judge
